                    Rutherford County Sheriff's Office
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Dale: 3.2.18                                                          G gO"
Iu re: Operation Candy Crush

                             SUMMARY OF              ST G A TION

       I met with Sheriff Fitzhugh on March 2", 2018 and requested an admhustrative review

on Operation Candy Crush. My request wasgranted, and I have found the following.

       It appears the investigation into the sale of CBD products were initiated by N.D. 1 on

February 3, 2017. A 20 gram package of "Chill gummies / SOUR FACES" was purchasedfor

$24.13 at              on February 3, 2017 after N.D, 1 viewed a Facebook sdvertisemeut.

(Ex.l-B). The TennesseeBureau of Investigation Crime Laboratory received this package on

February 8, 2017. The "Official Forensic Chemistry Report" issued on May 12, 2017 listed a

"Red gummy candy" contained both Cannabidiol (Schedule Vl) and 5-Fluoro ADB. (Ex. 1-C).

       In addition, the lab wrote "5-Fluoro ADB is a methylindazolecarboxamidobutanoate

compound and is defined as an illegal substancepursuant to Tennessee Code Annotated $39-17-

438(a)(1)(S)." (Ex. 1-C). It is important to separate the two substances. The later of the two

being a synthetic compound explicitly illegal in Tennessee (Tenn. Code Ann. f39-17-

438(a)(1)(S)) andFederal Law (Ex. 29-F and30-L).

       NJ). 1, along with two other Narcotics Detectives, met with an Assistant District

Atlnmey (A,D.A.) after the lab report was received. The purpose of this meeting was toseek

prosecutorial direction on the case. One concern was the lab report stated CBD was a Schedule

Six, but it could not be found in the TennesseeCode AnnotaterL I was informed one or more




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telephone calls were made between an A.D.A. and Tennessee Bureau of Investigation (T.B.I.)

employee(s) discussing the results of the report. (Ex. V-l).

        Information was conveyed to N.D. 1 that 5-Fluoro ADB was a synthetic and speciScally

listed in the lab result because it had been linked to two deaths. Detectives were assured CBD

was an illegal Schedule Six product and that it needed to be prosecuted. (Ex. V-1). While

attending this meeting, N.D. 4 inquired about the fact that CBD products were being sold on

Amazon. He stated an A.D.A. advised we were not going aiter Amazon. (Ex. VP and V-7). In

addition, detectives were directed to buy similar products at various Tobacco Shops and Vape

Stores (Ex. V-1 snd V-4).

        On September 6, 2017, N.D. 4 sent a news article text message to an A.D.A. titled "DA

warns of crackdown on marijuana-related products." (Ex. 29-A and 29-B). The article appears to

have been published by The Daily Herald on April 11, 2017 and starts off by stating "District

Attorney Brent Cooper gave buyers and sellers of a marijuana compound 30 days notice Tuesday

to stop transactions involving the drug or face prosecution." (Ex. 29-C). N.D. 4 stated he had

sent this article to OSer the alternative of providing the stores notice. (Ex. V-4).

       It appears in an effort to express the illegality of CBD, N.D. 1 received an email on

January 4, 2018 titled "CBD memorandum." I obtained the attached document with a heading

tit
  led "MEMORANDUM OF LAW REGARDING THE SALE OF SUBSTANCES

CONTAIMNG CANNABIDIOL IN TENNESSEE." (Ex. 27-B and 28-E). N.D. 1 received a

message I'rom an A.D.A. on January 4, 2018 asking "Did that email clear things upgo In which

he responded 'mesh it did... thanks." (Ex. 25-A). This message is consistent with the email.


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        On January 5, 2018, N.D.I was sent an invitation to attend a meeting at the Tennessee

 Bureau of Investigation Headquarters in Nashville, Tennessee. (Ex. 25-A). On January 8, 2018

 he received notification the meeting hadSeen moved to "Thursday" being January 11, 2018.

 This meeting was attended by multiple T.B.I. employer3, two A.D.A.s, snd N.D.1. (Ex. V-l).

        It appears N.D. 1's concerns gtew more after attending a meeting at the T.B.I.

headquarters. The meeting's purposewas for T.B.I. to clarify whether CBD was illegal or not.

N.D. 1 stated the conversation consisted of what he described as "lawyer talk" that was very

unclear to him. A T.B.L employee expressed it was ascheduled substance, but he couldn't

elaborate in this casewhether it was illegal or not. The same employee advised he could not test

for the percentage of THC. T.B.I. was very clear they did not have the equipment. (Ex. V-l).

        N.D. 1 stated his takeaway from the meeting was that T.B.I. couldn't test the percentage

of THC and the chemist couldn't determine whether or not it was legal or illegal in the case.

Towards the close of the meeting, N.D. 1 spoke up to a T.B.I. attorney and asked if this stuff

legal or illegal According to N.D. 1, the responseincluded I am going to give you the most

lawyer answer you are going to hear and its casespecific. An A.D.A. allegedly turned sndstated

to N.D.I that this sudf is illegal and we are going forward with this. N.D. 1 stated he felt shut

down by the AJ)A. (Ex. V-1). N.D. 1's recollection of the meeting with T.B.I. appears

consistent with T.B.I.'s pressr eleas. (Ex. 29-D).

       N.D. 1 mentioned to his supervision on multiple occasions his concerns in the

prosecutorial direction of CBD cases. It appears the District Attorney's Office wanted thecase

to go before the October 2017 Grand Jury. Then it was decided it would be presented to the


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 December 2017 Grand Jury. N.D. 1 slow walked the CBD case Rom going to Grand Jury in the

 later part of 2017 because he wanted more assurance the pmducts were illegal. Because of his

 delay, the District Attorney's Office went up three tiers of supervision to speed up the
investigation. (Bx. V-I and Bx. 015).

        A couple of meetings transpired within weeks leading to the Grand Jury indictments. It

appears multiple narcotics detectives met with Major Bill Sharp during oneof these meetings.

They expressed multiple concerns snd shared different resolutions to pursue the CBD case.

Some of those options consisted of sending letters to the businesses informing them they may

have tainted pmducts and/or serving search warrants on the stores to further test the pmducts

without any arrests. Most detectives agreed that padlocking businesses was extreme. (Bx. 014).

It appears, based on his detectives concerns, Major Sharp leaned towards postponing any

advancement of the case. (Ex. 015).

       I was informed, unsatisfied with Major Sharp's decision, the District Attorney's Office

reached out to the highest level of command at the Sheriff s Office. Two members from the

District Attorney's Office met with the Sheriff and two Chiefs. The Sheriff would not override

the Major's decision, but instead allowed for the District Att orney's Office to set up another

meetb~ with Major Sharp and multiple narcotics detectives. On February 2, 2018, Major Sharp,

N.D. 5, and other narcotics detectives amved at the District Attorney's Office. I was informed

this was a contentious meeting where detectives again expressed various concerns. However,

information portraying the illegality of the substance was again conveyed to the narcotics




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detectives. (Ex. Vl, Ex. V-2, Ex. 014, and Ex. V-S), Operation Candy Crush was executed on

February 12, 2018.

                                            FINDINGS

        NJ3. 1 and other SherifFs Office employees appeared to have concerns over the legality

of CBD from the very beginning of the investigation. Concernsconsisted ofwhethertheproduct

was legal or not, the store owners' lack of knowledge should it be illegal, and the opioid

problem. (Ex. 015). My review reveals the arrest and padlocking were the most problematic

areas of agreement between the Sherifrs Office and District Att orney's Office. On January30,

2018, N.D. 1 wss given noti6cation to "Seize funds in cash register and all cbd related items.

Also each store gets a asp lock on front and back doors." (Ex. 25-A).

    Sheriff's Office Narcotics Detectives are not familiarized with "padlocking — e.g. Petition for

Abatement of Nuisance." Aiter speaking to several detectives with yearsof experience, it is not

a customary practice by the Sheriff s Office. 'This is a statutory remedy in which neither Sheriff,

nor deputies have special standing to petition. The jurisdiction to abate is conferred by statute

and states "Thejurisdiction is hereby conferred upon the chancery, circuit, and criminal courts

and any court designated as an environmental court pursuant to Chapter 426 of the Public Acts

of 1991, Chapter 212 of the Public Acts of 1993 or Chapter 667 of the Public Acts of2002 to

abate the publi c nuisances defined in j t29-3-1 01, upon petition in the name of the state, upon

relation of the attorney general and reporter, or any district attorney general, or any city or

countyattorney, or without the concurrence of any such oQicers, upon the relation of ten(10) or




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more citizens and freeholdersof the county wherein such nuisances may exist,in the manner

herein provided. " (Tenn. Code Ann. 529-3-102).

     A P etition for Ab e   nt o f ui s    in this case was filed by the "STATE OF

TENNESSEE, ex rel" and siipied by the District Attorney General and two Assistance District

Attorney Generals. (Ex. 30-1). The Petition was accompanied by two other documents. One was
an "Affidavit In S    ort of Petition for Abatement of u isance and 0 er to Search Premises"

This document is signed by law enforcement affirming their factual findings as a result of their

investigation. (Ex. 30-J). Another accompanying document was the "Tem o             In'   ction and

Or     to P   oc k      'ses" which was signed by iwo Assistant District Att
                                                                               orneysandaJudge.
This document contains language "It is thereforeORDERED, ADJUDGED, and DECREED that

Detective...., or any other peace ofiicer in this county, shall CLOSE and PADLOCK the

businessknow as:....." (Ex. 30-K).

     Reviewing an example of a sealed indictment, languageappeared at the top stating "Capias I

Bench Warrant - Grand Jury Sealed Indictment." Additional language stated 'To Any Lawful

OfficerofSaid County: You arecommanded totake the body of                          if to be found in
your County, and keep him/her safely, so that you have him/her before Judge of Rutherford

County Circuit Court for the County of Rutherford, at the Rutherford County Judicial Building in

the town of MurPeesboro, instanter,and then there to answer to the charge(s) of:"

        It appears although the Sharla" s Office assisted with arranging the press conference, the

decision came from the District Attorney's Office (Ex. 25-A and Ex. 015). On February 5, 2017,

an A.D.A. notified N.D. I "RCSO, MPD, SPD,dt TBI all confirmed for press conference. Only


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waiting on confirmation fiom LPD, but shouldn't be a pr cble." (Ex. 25-A), Within seven

minutes, N.D. I tveeived notification "LPD confirmed." (Ex. 25-A). For whatever reason, the

Tennessee Bureau of Investigation did not attend. Communication regarding any public press

conference should not be channeled to a case agent detective.

    Law enforcement officers have a somewhat special relationship with the District Atlnmey's

Office. Deputies assigned to the Criminal Investigation Division, including the narcotics

division, must seek prosecutorial direction and advice thmughout the meticulous cases they

encounter. After reviewing this case in its entirety, I don't feel any additional Standard

Operating Procedures would have changed the circumstances. A Standard Operating Pmcedure

provides only administrative guidance and can't override the voluminous duties imposed on the

SherifFs Office by the Tennessee Constitution, Tennessee Code Annotated, and case law.

   I have completed the investigation and find there are no policy violations committed by the

Narcotics Division in re: Operation Candy Crush. However, I recommend consultation with the

County Attorney in any future case where law enforcement is directed to perform actions
inconsistent with their individual discretion or in which they have persistent concerns such as

presentedin Operation Candy Crush.




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01         Lt. Goney's Investigative Notes

02         Rights Statement for Subject Employee - N.D. 1

03         Interview Notes - N.D. 1

04         Rights Statement for Subject Employee - N.D. 2

05         Interview Notes - N.D. 2

06         Rights Statement for Subject Employee - N.D. 3

07         Interview Notes - N.D. 3

08         Rights Statement for Subject Employee - N.D. 4

09         Interview Notes - N.D. 4

010        Interview Notes-

011        Rights Statement for Subject Employee - N.D. 5

012        Interview Notes - N.D. 5

013        Rights Statement for Subject Employee - N.D. 6

014        Interview Notes - N.D. 6

015        Typed Statement - Major Bill Sharp

016        2 Rights Statement for Subject Employee - N.D. 1

017        Interview Notes - N.D. 1

1-A        Picture o

1-B        Report of Investigation ¹


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I-D            TBI Official Forensic Chemistry Report

1-E            Business License and Owner Information            10
1-F            Request for Indictment-

I-G         Request for Indictment-

1-H         RCSO Evidence and Property Room Receipt

            Case Pictures

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1-M        Case Pictures

           TBI Request for Examination
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1-P                      Receipt

I-Q        Case Pictures

1-R        RCSO Evidence and Property Room Receipt

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           Case Pictures

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2-B        Report of Investigation

2-C        TBI Official Forensic Chemistry Report


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2-H       RCSO Evidence and Property Room Receipt             1

2-I       Case Pictures

2-J       RCSO Evidence snd Property Room Receipt             1

2-K                    Receipt                                 1

2-L        Case Pictures

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5-J       RCSO Evidence and Property Room Receipt              1
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7-I        Case Pictures                                       13
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9-J        RCSO Evidence and Property Room Receipt

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          Itemized List of CBD Products

          Indictment List

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          Sereenshot

          Captures

          Suspect List

          Team Leader Check List

          Screenshots of Text Communication - A.D.A. 1

          Screenshots of Text Communication - A.D.A. 2         26

          Email received fiom Sheriff

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          Email received fiom Sheriff

          Email received from Sheriff

          Email received fiom Sheriff

          Email received fiom Sheriff

          Email received fiom Detective N.D. 1

          Email received fiom Detective N.D. I

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          Email received ilom Detective N.D. 1

          Email received &om Detective N.D. 1

          Email received fiom Detective N.D. 1

          Lt. Goney's RCSO I.T. Email Request 3.13.18

          Email received from RCSO I.T.

          Email received from RCSO I.T.

          Email received fiom RCSO I.T.

          Email received fiom RCSO I.T.

          Email received fiom RCSO I.T.                       96
          Email received fiom RCSO I.T.

          Email received Rom RCSO I.T.

          Email received &om RCSO I.T.

          Email received fiom RCSO I.T.

          Email received fiom RCSO I.T.

          Email received &om RCSO I.T.

          Email received fiom RCSO I.T.

          Email received fiom RCSO I.T.                       13
          Email received fiom RCSO I.T.

          Email mceived from RCSO LT.                         28
          Email received irom RCSO I.T.                       23
          Screenshot of Text Communication - A.DA. 1


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               R utherfordCounty Sheriff'sO ffice
                      Office of Professional Responsibility                 C
          Lt. Goney's Picture of Screenshot of Text Communication      1

          The Daily Herald Article - Dated 4.11. 17

          WKRN Article - Dated 2.28.18

          WSMV Article - Dated 9.7.11

           DEA Publication - Dated 4.10.17

           D.A.'s CBD Press Release Email - 2.28.18

           Attachment - D.A.'s CBD Press Release Email - 2.28.19       35

           Email received from Major Sharp

           Email received fiom Major Sharp

           Email received &om Major Sharp

           Email received from Major Sharp

           Email received trom Major Sharp

           Email received germ Major Sharp

           Petition for Abatement of Nuisance

           Afsdavit in Support of Petition for Abatement of Nuisance
           And Order to Search Premises

           Temporary Injunction and Order to Padlock Premises

           DEA Controlled Substances                                       16

            Lt. Goney's RCSO I.T. Email Request 3.31.18

            Emails received trom RCSO I.T.                             256

            Additional Reports of Investigation

            Emails received irom Detective N.D. 1 with Attachments         31

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                   RutherfordCounty Sheriff'sOnce
                          Office of Professional Responsibility                       ~ OP t
V-1           Interview - N3). 1 - 3.6.18

V-2           Interview - NJ). 2-3.13.18

V-3           Interview - N3). 3 - 3.13.18

V-4           Interview - N.D. 4- 3.13.18

V-5           Interview - N.D. 5 - 3.20.18

V-6           Store Video-

V-7           2' Interview - N.D.1 - 3.29.18

Reiated~02'

No. 101       Code of Conduct

No. 102       Sta ndard Operating Procedures

No. 103       Obedience to Orders

No. 104       Standards of Conduct

No. 600       Ofsce of Professional ResponsibiTity

No. 601       Citizen Complaints




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